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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )       Case No. 3:10-CR-00081 JD
                                            )
KELLY BILL (02)                             )

                                            ORDER

       No objections have been filed to the magistrate judge’s findings and recommendation upon

a plea of guilty issued on December 2, 2010 [DE 41]. Accordingly, the court now ADOPTS those

findings and recommendations, ACCEPTS defendant Kelly Bill’s plea of guilty, and FINDS the

defendant guilty of Count 1 of the Superseding Indictment, in violation of 18 U.S.C. § 922(g)(3),

and Count 2 of the Superseding Indictment, in violation of 18 U.S.C. § 922(g)(1).

       SO ORDERED.

       ENTERED: January 5, 2011



                                                   /s/ JON E. DEGUILIO
                                            Judge
                                            United States District Court
